                                 Case 1:07-cv-00867-OWW-DLB Document 95 Filed 09/30/09 Page 1 of 3


                             1   Michael G. Woods, # 058683-0                               (SPACE BELOW FOR FILING STAMP ONLY)
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                                 Wayte & Carruth LLP
                             3   P.O. Box 28912
                                 5 River Park Place East
                             4   Fresno, CA 93720-1501
                                 Telephone:    (559) 433-1300
                             5   Facsimile:    (559) 433-2300
                             6   Attorneys for Defendant ALFREDO CARDWOOD,
                                 Special Agent, California Department of Justice, Bureau
                             7   of Narcotic Enforcement
                             8
                                                                UNITED STATES DISTRICT COURT
                             9
                                                 EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
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                                 JOHN GARCIA,                                   Case No. 1:07-CV-00867-OWW-DLB
                        12
                                                   Plaintiff,                   ORDER ON MOTION FOR SUMMARY
                        13                                                      JUDGMENT, OR IN THE ALTERNATIVE,
                                 v.                                             SUMMARY ADJUDICATION BY
                        14                                                      ALFREDO CARDWOOD
                                 CITY OF MERCED, et al.,
                        15
                                                   Defendants
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                                               The Motion for Summary Judgment, or in the Alternative, Summary Adjudication,
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                                 filed by Defendant Alfredo Cardwood came on for hearing before this Court on July 27, 2009.
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                                 Norman Newhouse appeared on behalf of Plaintiff. Christina Cusimano of McCormick, Barstow,
                        20
                                 Sheppard, Wayte & Carruth, LLP, appeared on behalf of Defendant Alfredo Cardwood. Roger S.
                        21
                                 Matzkind, Chief Civil Litigator of the Office of County Counsel, County of Merced, appeared on
                        22
                                 behalf of Defendants County of Merced, Merced County Sheriff’s Department, Merced County
                        23
                                 Deputy Sheriff John Taylor, Merced County District Attorney’s Office, and Merced County
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                                 District Attorney Gordon Spencer.
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MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                    ORDER ON MOTION FOR SUMMARY JUDGMENT, OR IN THE ALTERNATIVE, SUMMARY
   CARRUTH LLP
   5 RIVER PARK PLACE EAST                              ADJUDICATION BY ALFREDO CARDWOOD
  FRESNO, CA 93720-1501
                                 Case 1:07-cv-00867-OWW-DLB Document 95 Filed 09/30/09 Page 2 of 3


                             1                  After considering the moving and opposition papers, arguments of counsel and all
                             2   other matters presented to the Court, for the reasons set forth in the Court’s Memorandum
                             3   Decision, Document 89, incorporated herein by reference, it is hereby ordered as follows:
                             4                  1.      The motion for summary adjudication on the first cause of action for
                             5   assault and the second cause of action for battery is GRANTED. Plaintiff concedes in his
                             6   opposition that he has developed no evidence to support his first and second causes of action for
                             7   assault and battery.
                             8                  2.      The motion for summary adjudication on the conspiracy allegations
                             9   contained in Plaintiff’s Fifth Amended Complaint is GRANTED. In his opposition, Plaintiff
                        10       abandons any allegations of a conspiracy against Agent Cardwood.
                        11                      3.      The motion for summary adjudication on Plaintiff’s allegations that Agent
                        12       Cardwood violated his Fourth Amended rights by conducting a reverse sting operation on
                        13       February 6, 2006 is GRANTED.
                        14                      4.      The motion for summary adjudication on the Fourth Amendment claim for
                        15       judicial deception (Franks claim) is DENIED.
                        16                      5.      The motion for summary adjudication of the Fourth Amendment claim for
                        17       unreasonable arrest and detention under the Fourth Amendment claim is DENIED.
                        18                      6.      The motion for summary adjudication on the related state law claim for
                        19       false arrest/imprisonment is DENIED.
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                                 Dated: 9/30/2009
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                        23                                                           By: /s/ OLIVER W.WANGER
                                                                                       UNITED STATES DISTRICT JUDGE
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                        26       [Approved as to form on next page]
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MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                    ORDER ON MOTION FOR SUMMARY JUDGMENT, OR IN THE ALTERNATIVE, SUMMARY
   CARRUTH LLP
   5 RIVER PARK PLACE EAST                              ADJUDICATION BY ALFREDO CARDWOOD
  FRESNO, CA 93720-1501
                                 Case 1:07-cv-00867-OWW-DLB Document 95 Filed 09/30/09 Page 3 of 3


                             1   Approved as to form.
                             2   Date: September 29, 2009                     Law Offices of Norman Newhouse
                             3
                                                                              By:___/s/ Norman Newhouse____
                             4                                                   Norman Newhouse
                                                                                 Attorney for Plaintiff, John Garcia
                             5

                             6

                             7   Date: September 29, 2009                     Office of County Counsel, County of Merced
                             8
                                                                              By:___/s/ Roger Matzkind__________
                             9                                                Attorney for Defendants County of
                                                                              Merced, Merced County Sheriff’s
                        10                                                    Department, Merced County Deputy
                                                                              Sheriff John Taylor, Merced County
                        11                                                    District Attorney’s Office, and
                                                                              Merced County District Attorney
                        12                                                    Gordon Spencer
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MCCORMICK, BARSTOW,
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 SHEPPARD, W AYTE &                      ORDER ON MOTION FOR SUMMARY JUDGMENT, OR IN THE ALTERNATIVE, SUMMARY
   CARRUTH LLP
   5 RIVER PARK PLACE EAST                                ADJUDICATION BY ALFREDO CARDWOOD
  FRESNO, CA 93720-1501
